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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:08−cr−00846
                                                           Honorable Joan H. Lefkow
Thomas McKenna
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 13, 2015:


        MINUTE entry before the Honorable Joan H. Lefkow:Motion hearing held on
5/13/2015. Motion of Ralph Harris to intervene [442] is granted for the reasons stated in
the Court's Memorandum Opinion and Order [438] of 1/17/2014. The Protective Order
[439] is lifted as to Tara Thompson to disclose to movant what categories of documents
she has received from the Government. Request for subpoenas is denied without
prejudice. Mailed notice (mad, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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